                                                 Case 09-26489                       Doc 1           Filed 09/02/09                     Page 1 of 41
B1 (Official Form 1)(1/08)
                                              United States Bankruptcy Court
                                                          District of Maryland                                                                                 Voluntary Petition
         }
         b
         k
         1
         {
         F
         o
         r
         m
         .
         V
         l
         u
         n
         t
         a
         y
         P
         e
         i




 Name of Debtor (if individual, enter Last, First, Middle):                                             Name of Joint Debtor (Spouse) (Last, First, Middle):
  Varnum, Darryl Albert                                                                                    Varnum, Jill English


All Other Names used by the Debtor in the last 8 years                                                  All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                             (include married, maiden, and trade names):
                                                                                                           FKA Jill E. Powell



Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN                       Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all)                                                                           (if more than one, state all)
  xxx-xx-7332                                                                                              xxx-xx-8175
Street Address of Debtor (No. and Street, City, and State):                                             Street Address of Joint Debtor (No. and Street, City, and State):
  310 Hook Road                                                                                            310 Hook Road
  Westminster, MD                                                                                          Westminster, MD
                                                                                       ZIP Code                                                                                      ZIP Code
                                                                                     21157                                                                                        21157
County of Residence or of the Principal Place of Business:                                              County of Residence or of the Principal Place of Business:
  Carroll                                                                                                  Carroll
Mailing Address of Debtor (if different from street address):                                           Mailing Address of Joint Debtor (if different from street address):


                                                                                       ZIP Code                                                                                      ZIP Code

Location of Principal Assets of Business Debtor
(if different from street address above):


                   Type of Debtor                                       Nature of Business                                         Chapter of Bankruptcy Code Under Which
                (Form of Organization)                                     (Check one box)                                            the Petition is Filed (Check one box)
                   (Check one box)                              Health Care Business                                  Chapter 7
                                                                Single Asset Real Estate as defined                   Chapter 9                        Chapter 15 Petition for Recognition
    Individual (includes Joint Debtors)                         in 11 U.S.C. § 101 (51B)                                                               of a Foreign Main Proceeding
    See Exhibit D on page 2 of this form.                                                                             Chapter 11
                                                                Railroad
                                                                                                                      Chapter 12                       Chapter 15 Petition for Recognition
    Corporation (includes LLC and LLP)                          Stockbroker
                                                                                                                      Chapter 13                       of a Foreign Nonmain Proceeding
                                                                Commodity Broker
    Partnership
                                                                Clearing Bank
    Other (If debtor is not one of the above entities,          Other                                                                             Nature of Debts
    check this box and state type of entity below.)                                                                                                (Check one box)
                                                                        Tax-Exempt Entity
                                                                       (Check box, if applicable)                     Debts are primarily consumer debts,                 Debts are primarily
                                                                Debtor is a tax-exempt organization                   defined in 11 U.S.C. § 101(8) as                    business debts.
                                                                under Title 26 of the United States                   "incurred by an individual primarily for
                                                                Code (the Internal Revenue Code).                     a personal, family, or household purpose."

                                 Filing Fee (Check one box)                                             Check one box:                   Chapter 11 Debtors
    Full Filing Fee attached                                                                                   Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                               Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
    Filing Fee to be paid in installments (applicable to individuals only). Must                        Check if:
    attach signed application for the court's consideration certifying that the debtor
    is unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                           Debtor’s aggregate noncontingent liquidated debts (excluding debts owed
                                                                                                               to insiders or affiliates) are less than $2,190,000.
    Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                        Check all applicable boxes:
    attach signed application for the court's consideration. See Official Form 3B.                             A plan is being filed with this petition.
                                                                                                               Acceptances of the plan were solicited prepetition from one or more
                                                                                                               classes of creditors, in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                              THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
   Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
   there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors

    1-            50-           100-           200-       1,000-        5,001-        10,001-       25,001-      50,001-        OVER
    49            99            199            999        5,000        10,000         25,000        50,000       100,000       100,000
Estimated Assets

    $0 to         $50,001 to    $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
    $50,000       $100,000      $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                               million    million      million        million       million
Estimated Liabilities

    $0 to         $50,001 to    $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
    $50,000       $100,000      $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                               million    million      million        million       million
                                         Case 09-26489                Doc 1        Filed 09/02/09                Page 2 of 41
B1 (Official Form 1)(1/08)                                                                                                                                                  Page 2
                                                                                      Name of Debtor(s):
Voluntary Petition                                                                      Varnum, Darryl Albert
(This page must be completed and filed in every case)                                   Varnum, Jill English
                                 All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                                      Case Number:                         Date Filed:
Where Filed: - None -
Location                                                                              Case Number:                                   Date Filed:
Where Filed:
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                             Relationship:                                  Judge:

                                       Exhibit A                                                                                Exhibit B
                                                                                         (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,                I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                        have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934                12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                           under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                        required by 11 U.S.C. §342(b).

        Exhibit A is attached and made a part of this petition.                         X     /s/ Andrew C. Stone                              September 1, 2009
                                                                                            Signature of Attorney for Debtor(s)                     (Date)
                                                                                              Andrew C. Stone 09759

                                                                                Exhibit C
  Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
       Yes, and Exhibit C is attached and made a part of this petition.
       No.

                                                                           Exhibit D
  (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
        Exhibit D completed and signed by the debtor is attached and made a part of this petition.
  If this is a joint petition:
        Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                      Information Regarding the Debtor - Venue
                                                                (Check any applicable box)
                    Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                    days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                    There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                    Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                    this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                    proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                    sought in this District.
                                         Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                 (Check all applicable boxes)
                    Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                       (Name of landlord that obtained judgment)




                                       (Address of landlord)

                    Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                    the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                    Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period
                    after the filing of the petition.
                    Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
                                         Case 09-26489                   Doc 1          Filed 09/02/09             Page 3 of 41
B1 (Official Form 1)(1/08)                                                                                                                                              Page 3
                                                                                         Name of Debtor(s):
Voluntary Petition                                                                          Varnum, Darryl Albert
(This page must be completed and filed in every case)                                       Varnum, Jill English
                                                                                    Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                          Signature of a Foreign Representative
     I declare under penalty of perjury that the information provided in this              I declare under penalty of perjury that the information provided in this petition
     petition is true and correct.                                                         is true and correct, that I am the foreign representative of a debtor in a foreign
     [If petitioner is an individual whose debts are primarily consumer debts and          proceeding, and that I am authorized to file this petition.
     has chosen to file under chapter 7] I am aware that I may proceed under
                                                                                           (Check only one box.)
     chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
     available under each such chapter, and choose to proceed under chapter 7.                  I request relief in accordance with chapter 15 of title 11. United States Code.
     [If no attorney represents me and no bankruptcy petition preparer signs the                Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     petition] I have obtained and read the notice required by 11 U.S.C. §342(b).
                                                                                                Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     I request relief in accordance with the chapter of title 11, United States Code,           of title 11 specified in this petition. A certified copy of the order granting
     specified in this petition.                                                                recognition of the foreign main proceeding is attached.


      /s/ Darryl Albert Varnum                                                             X
 X                                                                                             Signature of Foreign Representative
     Signature of Debtor Darryl Albert Varnum

 X    /s/ Jill English Varnum                                                                  Printed Name of Foreign Representative
     Signature of Joint Debtor Jill English Varnum
                                                                                               Date
     Telephone Number (If not represented by attorney)                                            Signature of Non-Attorney Bankruptcy Petition Preparer
     September 1, 2009
                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Date                                                                                      preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                               compensation and have provided the debtor with a copy of this document
                              Signature of Attorney*                                           and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                               110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
                                                                                               pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
 X    /s/ Andrew C. Stone
                                                                                               chargeable by bankruptcy petition preparers, I have given the debtor notice
     Signature of Attorney for Debtor(s)                                                       of the maximum amount before preparing any document for filing for a
      Andrew C. Stone 09759                                                                    debtor or accepting any fee from the debtor, as required in that section.
                                                                                               Official Form 19 is attached.
     Printed Name of Attorney for Debtor(s)
      Andrew C. Stone, Chartered
                                                                                               Printed Name and title, if any, of Bankruptcy Petition Preparer
     Firm Name
      237 East Main Street
      Westminster, MD 21157-5228                                                               Social-Security number (If the bankrutpcy petition preparer is not
                                                                                               an individual, state the Social Security number of the officer,
                                                                                               principal, responsible person or partner of the bankruptcy petition
     Address                                                                                   preparer.)(Required by 11 U.S.C. § 110.)

                    Email: astone@AndrewStoneLaw.com
      410-876-3317 Fax: 410-876-9158
     Telephone Number
     September 1, 2009
                                                                                               Address
     Date
     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
     certification that the attorney has no knowledge after an inquiry that the            X
     information in the schedules is incorrect.
                                                                                               Date
                Signature of Debtor (Corporation/Partnership)
                                                                                               Signature of Bankruptcy Petition Preparer or officer, principal, responsible
     I declare under penalty of perjury that the information provided in this                  person,or partner whose Social Security number is provided above.
     petition is true and correct, and that I have been authorized to file this petition
     on behalf of the debtor.                                                                  Names and Social-Security numbers of all other individuals who prepared or
                                                                                               assisted in preparing this document unless the bankruptcy petition preparer is
     The debtor requests relief in accordance with the chapter of title 11, United             not an individual:
     States Code, specified in this petition.

 X
     Signature of Authorized Individual
                                                                                               If more than one person prepared this document, attach additional sheets
                                                                                               conforming to the appropriate official form for each person.
     Printed Name of Authorized Individual
                                                                                               A bankruptcy petition preparer’s failure to comply with the provisions of
                                                                                               title 11 and the Federal Rules of Bankruptcy Procedure may result in
     Title of Authorized Individual                                                            fines or imprisonment or both 11 U.S.C. §110; 18 U.S.C. §156.

     Date
                                           Case 09-26489                      Doc 1    Filed 09/02/09   Page 4 of 41



B 1D(Official Form 1, Exhibit D) (12/08)
                                                                 United States Bankruptcy Court
                                                                                District of Maryland
             Darryl Albert Varnum
 In re       Jill English Varnum                                                                            Case No.
                                                                                        Debtor(s)           Chapter    7




                   EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                   CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.

           2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 15 days after your bankruptcy case is filed.
          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the five days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]
       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.

Software Copyright (c) 1996-2009 Best Case Solutions - Evanston, IL - (800) 492-8037                                       Best Case Bankruptcy
                                                Case 09-26489                          Doc 1   Filed 09/02/09   Page 5 of 41



B 1D(Official Form 1, Exhibit D) (12/08) - Cont.

          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                  Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
       mental deficiency so as to be incapable of realizing and making rational decisions with respect to
       financial responsibilities.);
                  Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
       unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
       through the Internet.);
                  Active military duty in a military combat zone.
         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
              I certify under penalty of perjury that the information provided above is true and correct.

 Signature of Debtor:                              /s/ Darryl Albert Varnum
                                                   Darryl Albert Varnum
 Date:         September 1, 2009




Software Copyright (c) 1996-2009 Best Case Solutions - Evanston, IL - (800) 492-8037                                           Best Case Bankruptcy
                                           Case 09-26489                      Doc 1    Filed 09/02/09   Page 6 of 41



B 1D(Official Form 1, Exhibit D) (12/08)
                                                                 United States Bankruptcy Court
                                                                                District of Maryland
             Darryl Albert Varnum
 In re       Jill English Varnum                                                                            Case No.
                                                                                        Debtor(s)           Chapter    7




                   EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                   CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.

           2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 15 days after your bankruptcy case is filed.
          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the five days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]
       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.

Software Copyright (c) 1996-2009 Best Case Solutions - Evanston, IL - (800) 492-8037                                       Best Case Bankruptcy
                                                Case 09-26489                          Doc 1   Filed 09/02/09   Page 7 of 41



B 1D(Official Form 1, Exhibit D) (12/08) - Cont.

          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                  Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
       mental deficiency so as to be incapable of realizing and making rational decisions with respect to
       financial responsibilities.);
                  Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
       unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
       through the Internet.);
                  Active military duty in a military combat zone.
         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
              I certify under penalty of perjury that the information provided above is true and correct.

 Signature of Debtor:                              /s/ Jill English Varnum
                                                   Jill English Varnum
 Date:         September 1, 2009




Software Copyright (c) 1996-2009 Best Case Solutions - Evanston, IL - (800) 492-8037                                           Best Case Bankruptcy
                                                Case 09-26489                       Doc 1      Filed 09/02/09         Page 8 of 41
B6 Summary (Official Form 6 - Summary) (12/07)


          }
          b
          k
          1
          {
          F
          o
          r
          m
          6
          .
          S
          u
          a
          y
          f
          c
          h
          e
          d
          l
          s




                                                                  United States Bankruptcy Court
                                                                                   District of Maryland
  In re          Darryl Albert Varnum,                                                                                   Case No.
                 Jill English Varnum
                                                                                                                 ,
                                                                                                Debtors                  Chapter                 7




                                                                       SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
     Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
     also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




              NAME OF SCHEDULE                             ATTACHED                NO. OF           ASSETS                  LIABILITIES           OTHER
                                                            (YES/NO)               SHEETS

A - Real Property                                                 Yes                 1                          0.00


B - Personal Property                                             Yes                 5                   44,882.00


C - Property Claimed as Exempt                                    Yes                 2


D - Creditors Holding Secured Claims                              Yes                 1                                             14,025.00


E - Creditors Holding Unsecured                                   Yes                 1                                                  0.00
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                                   Yes                 3                                            172,731.69
    Nonpriority Claims

G - Executory Contracts and                                       Yes                 1
   Unexpired Leases

H - Codebtors                                                     Yes                 1


I - Current Income of Individual                                  Yes                 1                                                                   4,178.00
    Debtor(s)

J - Current Expenditures of Individual                            Yes                 2                                                                   4,170.00
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                            18


                                                                                Total Assets              44,882.00


                                                                                                  Total Liabilities                186,756.69




Copyright (c) 1996-2009 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                   Best Case Bankruptcy
                                                Case 09-26489                   Doc 1      Filed 09/02/09            Page 9 of 41
Form 6 - Statistical Summary (12/07)


          }
          e
          b
          k
          r
          {
          t
          1
          a
          i
          F
          n
          o
          L
          m
          6
          .
          l
          S
          s
          c
          d
          R
          u
          y
          D
          f
          C




                                                                  United States Bankruptcy Court
                                                                                District of Maryland
  In re           Darryl Albert Varnum,                                                                                   Case No.
                  Jill English Varnum
                                                                                                               ,
                                                                                            Debtors                       Chapter            7


               STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
          a case under chapter 7, 11 or 13, you must report all information requested below.

                   Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                   report any information here.

          This information is for statistical purposes only under 28 U.S.C. § 159.
          Summarize the following types of liabilities, as reported in the Schedules, and total them.


              Type of Liability                                                                       Amount

              Domestic Support Obligations (from Schedule E)                                                           0.00

              Taxes and Certain Other Debts Owed to Governmental Units
              (from Schedule E)
                                                                                                                       0.00

              Claims for Death or Personal Injury While Debtor Was Intoxicated
              (from Schedule E) (whether disputed or undisputed)
                                                                                                                       0.00

              Student Loan Obligations (from Schedule F)                                                               0.00

              Domestic Support, Separation Agreement, and Divorce Decree
              Obligations Not Reported on Schedule E
                                                                                                                       0.00

              Obligations to Pension or Profit-Sharing, and Other Similar Obligations
              (from Schedule F)
                                                                                                                       0.00

                                                                                   TOTAL                               0.00


              State the following:

              Average Income (from Schedule I, Line 16)                                                            4,178.00

              Average Expenses (from Schedule J, Line 18)                                                          4,170.00

              Current Monthly Income (from Form 22A Line 12; OR,
              Form 22B Line 11; OR, Form 22C Line 20 )                                                             6,730.67


              State the following:
              1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                  column
                                                                                                                                        665.00

              2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                  column
                                                                                                                       0.00

              3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                  PRIORITY, IF ANY" column
                                                                                                                                           0.00

              4. Total from Schedule F                                                                                               172,731.69

              5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                           173,396.69




Copyright (c) 1996-2009 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                               Best Case Bankruptcy
                                              Case 09-26489                     Doc 1    Filed 09/02/09       Page 10 of 41
B6A (Official Form 6A) (12/07)


          }
          b
          k
          1
          {
          S
          c
          h
          e
          d
          u
          l
          A
          -
          R
          a
          P
          r
          o
          p
          t
          y




  In re          Darryl Albert Varnum,                                                                             Case No.
                 Jill English Varnum
                                                                                                          ,
                                                                                            Debtors
                                                                 SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                          Husband,    Current Value of
                                                                                  Nature of Debtor's       Wife,     Debtor's Interest in           Amount of
                 Description and Location of Property                             Interest in Property     Joint, or  Property, without            Secured Claim
                                                                                                         Community Deducting  any Secured
                                                                                                                     Claim or Exemption




                         None




                                                                                                          Sub-Total >               0.00          (Total of this page)

                                                                                                               Total >              0.00
  0     continuation sheets attached to the Schedule of Real Property
                                                                                                          (Report also on Summary of Schedules)
Copyright (c) 1996-2009 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                     Best Case Bankruptcy
                                              Case 09-26489                     Doc 1    Filed 09/02/09          Page 11 of 41
B6B (Official Form 6B) (12/07)


          }
          k
          b
          {
          1
          S
          c
          h
          e
          d
          u
          l
          B
          -
          P
          r
          s
          o
          n
          a
          p
          t
          y




  In re          Darryl Albert Varnum,                                                                                   Case No.
                 Jill English Varnum
                                                                                                             ,
                                                                                            Debtors
                                                          SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                             N                                                                  Husband,        Current Value of
                 Type of Property                            O                   Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                   Joint, or   without Deducting any
                                                             E                                                                 Community Secured Claim or Exemption

1.     Cash on hand                                              Cash                                                               J                            30.00

2.     Checking, savings or other financial                      Bank of America - Checking                                         H                            50.00
       accounts, certificates of deposit, or
       shares in banks, savings and loan,                        BB&T - Checking                                                    W                              5.00
       thrift, building and loan, and
       homestead associations, or credit
       unions, brokerage houses, or
       cooperatives.

3.     Security deposits with public                             Leanne Hamper - Landlord                                           J                        1,500.00
       utilities, telephone companies,
       landlords, and others.

4.     Household goods and furnishings,                          Beds - 2                                                           J                            75.00
       including audio, video, and
       computer equipment.                                       Linens                                                             J                            20.00

                                                                 Bureaus - 2                                                        J                            50.00

                                                                 Cabinet                                                            J                            30.00

                                                                 Chair                                                              J                            40.00

                                                                 Lamps - 5                                                          J                            10.00

                                                                 Sofas - 3                                                          J                           120.00

                                                                 Coffee Table                                                       J                            10.00

                                                                 Outdoor Tables - 2                                                 J                            25.00

                                                                 Kitchen Table w/Chairs                                             J                            30.00

                                                                 Dining Room Table w/Chairs                                         J                            50.00

                                                                 Pots & Pans                                                        J                            25.00

                                                                 Dishes                                                             J                            20.00



                                                                                                                                    Sub-Total >            2,090.00
                                                                                                                        (Total of this page)

  4     continuation sheets attached to the Schedule of Personal Property

Copyright (c) 1996-2009 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                          Best Case Bankruptcy
                                              Case 09-26489                     Doc 1    Filed 09/02/09          Page 12 of 41
B6B (Official Form 6B) (12/07) - Cont.




  In re          Darryl Albert Varnum,                                                                                   Case No.
                 Jill English Varnum
                                                                                                             ,
                                                                                            Debtors
                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                   (Continuation Sheet)

                                                             N                                                                  Husband,        Current Value of
                 Type of Property                            O                   Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                   Joint, or   without Deducting any
                                                             E                                                                 Community Secured Claim or Exemption
                                                                 Glasses                                                            J                            10.00

                                                                 Flatware                                                           J                            10.00

                                                                 CD Players - 2                                                     J                            20.00

                                                                 Vacuum Cleaner                                                     J                            25.00

                                                                 Misc. Small Appliances                                             J                            30.00

                                                                 Clocks - 2                                                         J                              5.00

                                                                 Stereo                                                             J                            30.00

                                                                 Televisions - 2                                                    J                           200.00

                                                                 DVD Players - 2                                                    J                            30.00

                                                                 Microwave                                                          J                            10.00

                                                                 Misc. Garden Tools                                                 J                            20.00

                                                                 Trimmers                                                           J                            30.00

                                                                 Ladder                                                             J                            10.00

                                                                 Lawn Mower                                                         J                            50.00

                                                                 Push Mower                                                         J                            50.00

5.     Books, pictures and other art                             Books                                                              J                            30.00
       objects, antiques, stamp, coin,
       record, tape, compact disc, and                           Record, Tape, CD or DVD Collection                                 J                            50.00
       other collections or collectibles.

6.     Wearing apparel.                                          Debtor's Clothing                                                  H                            50.00

                                                                 Co-Debtor's Clothing                                               W                            50.00

7.     Furs and jewelry.                                         Wedding Band                                                       W                           150.00

                                                                 Wedding Band                                                       H                            50.00

8.     Firearms and sports, photographic,                        Gun                                                                H                           100.00
       and other hobby equipment.
                                                                 Misc. Sports Equipment                                             J                            50.00




                                                                                                                                    Sub-Total >            1,060.00
                                                                                                                        (Total of this page)

Sheet 1 of 4          continuation sheets attached
to the Schedule of Personal Property

Copyright (c) 1996-2009 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                          Best Case Bankruptcy
                                              Case 09-26489                     Doc 1    Filed 09/02/09          Page 13 of 41
B6B (Official Form 6B) (12/07) - Cont.




  In re          Darryl Albert Varnum,                                                                                   Case No.
                 Jill English Varnum
                                                                                                             ,
                                                                                            Debtors
                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                   (Continuation Sheet)

                                                             N                                                                  Husband,        Current Value of
                 Type of Property                            O                   Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                   Joint, or   without Deducting any
                                                             E                                                                 Community Secured Claim or Exemption

9.     Interests in insurance policies.                      X
       Name insurance company of each
       policy and itemize surrender or
       refund value of each.

10. Annuities. Itemize and name each                         X
    issuer.

11. Interests in an education IRA as                         X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                           401(k)                                                             J                      21,187.00
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated                      X
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                       X
    ventures. Itemize.

15. Government and corporate bonds                           X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                     X

17. Alimony, maintenance, support, and                       X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor                        Wage Garnishment                                                   H                        1,500.00
    including tax refunds. Give particulars.


19. Equitable or future interests, life                      X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.




                                                                                                                                    Sub-Total >          22,687.00
                                                                                                                        (Total of this page)

Sheet 2 of 4          continuation sheets attached
to the Schedule of Personal Property

Copyright (c) 1996-2009 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                          Best Case Bankruptcy
                                              Case 09-26489                     Doc 1    Filed 09/02/09          Page 14 of 41
B6B (Official Form 6B) (12/07) - Cont.




  In re          Darryl Albert Varnum,                                                                                   Case No.
                 Jill English Varnum
                                                                                                             ,
                                                                                            Debtors
                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                   (Continuation Sheet)

                                                             N                                                                  Husband,        Current Value of
                 Type of Property                            O                   Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                   Joint, or   without Deducting any
                                                             E                                                                 Community Secured Claim or Exemption

20. Contingent and noncontingent                             X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                        X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.

22. Patents, copyrights, and other                           X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                          X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations                     X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                           2000 Volkswagon Jetta                                              W                        3,835.00
    other vehicles and accessories.                              112,000 Miles

                                                                 2006 Ford F150 Truck                                               J                      13,360.00
                                                                 78,500 Miles

                                                                 1990 Trailer                                                       J                           100.00

26. Boats, motors, and accessories.                              1994 Boston Whaler                                                 H                        1,750.00

27. Aircraft and accessories.                                X

28. Office equipment, furnishings, and                       X
    supplies.

29. Machinery, fixtures, equipment, and                      X
    supplies used in business.

30. Inventory.                                               X

31. Animals.                                                 X



                                                                                                                                    Sub-Total >          19,045.00
                                                                                                                        (Total of this page)

Sheet 3 of 4          continuation sheets attached
to the Schedule of Personal Property

Copyright (c) 1996-2009 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                          Best Case Bankruptcy
                                              Case 09-26489                     Doc 1    Filed 09/02/09          Page 15 of 41
B6B (Official Form 6B) (12/07) - Cont.




  In re          Darryl Albert Varnum,                                                                                   Case No.
                 Jill English Varnum
                                                                                                             ,
                                                                                            Debtors
                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                   (Continuation Sheet)

                                                             N                                                                  Husband,        Current Value of
                 Type of Property                            O                   Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                   Joint, or   without Deducting any
                                                             E                                                                 Community Secured Claim or Exemption

32. Crops - growing or harvested. Give                       X
    particulars.

33. Farming equipment and                                    X
    implements.

34. Farm supplies, chemicals, and feed.                      X

35. Other personal property of any kind                      X
    not already listed. Itemize.




                                                                                                                                    Sub-Total >                  0.00
                                                                                                                        (Total of this page)
                                                                                                                                         Total >         44,882.00
Sheet 4 of 4          continuation sheets attached
to the Schedule of Personal Property                                                                                                (Report also on Summary of Schedules)
Copyright (c) 1996-2009 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                          Best Case Bankruptcy
                                               Case 09-26489                      Doc 1      Filed 09/02/09          Page 16 of 41
 B6C (Official Form 6C) (12/07)


           E
           }
           x
           b
           e
           k
           m
           1
           p
           {
           t
           S
           c
           h
           d
           u
           l
           C
           -
           P
           r
           o
           y
           a
           i
           s




   In re          Darryl Albert Varnum,                                                                                   Case No.
                  Jill English Varnum
                                                                                                                 ,
                                                                                                Debtors
                                              SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                          Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                          $136,875.
    11 U.S.C. §522(b)(2)
    11 U.S.C. §522(b)(3)

                                                                                       Specify Law Providing                    Value of            Current Value of
                    Description of Property                                               Each Exemption                        Claimed             Property Without
                                                                                                                               Exemption          Deducting Exemption
Cash on Hand
Cash                                                                             Fla. Const. art. X, § 4(a)(2)                          30.00                      30.00

Checking, Savings, or Other Financial Accounts, Certificates of Deposit
Bank of America - Checking                        Fla. Const. art. X, § 4(a)(2)                                                         50.00                      50.00

BB&T - Checking                                                                  Fla. Const. art. X, § 4(a)(2)                             5.00                      5.00

Household Goods and Furnishings
Beds - 2                                                                         Fla. Const. art. X, § 4(a)(2)                          75.00                      75.00

Linens                                                                           Fla. Const. art. X, § 4(a)(2)                          20.00                      20.00

Bureaus - 2                                                                      Fla. Const. art. X, § 4(a)(2)                          50.00                      50.00

Cabinet                                                                          Fla. Const. art. X, § 4(a)(2)                          30.00                      30.00

Chair                                                                            Fla. Const. art. X, § 4(a)(2)                          40.00                      40.00

Lamps - 5                                                                        Fla. Const. art. X, § 4(a)(2)                          10.00                      10.00

Sofas - 3                                                                        Fla. Const. art. X, § 4(a)(2)                         120.00                     120.00

Coffee Table                                                                     Fla. Const. art. X, § 4(a)(2)                          10.00                      10.00

Outdoor Tables - 2                                                               Fla. Const. art. X, § 4(a)(2)                          25.00                      25.00

Kitchen Table w/Chairs                                                           Fla. Const. art. X, § 4(a)(2)                          30.00                      30.00

Dining Room Table w/Chairs                                                       Fla. Const. art. X, § 4(a)(2)                          50.00                      50.00

Pots & Pans                                                                      Fla. Const. art. X, § 4(a)(2)                          25.00                      25.00

Dishes                                                                           Fla. Const. art. X, § 4(a)(2)                          20.00                      20.00

Glasses                                                                          Fla. Const. art. X, § 4(a)(2)                          10.00                      10.00

Flatware                                                                         Fla. Const. art. X, § 4(a)(2)                          10.00                      10.00

CD Players - 2                                                                   Fla. Const. art. X, § 4(a)(2)                          20.00                      20.00

Vacuum Cleaner                                                                   Fla. Const. art. X, § 4(a)(2)                          25.00                      25.00

Misc. Small Appliances                                                           Fla. Const. art. X, § 4(a)(2)                          30.00                      30.00

Clocks - 2                                                                       Fla. Const. art. X, § 4(a)(2)                             5.00                      5.00

Stereo                                                                           Fla. Const. art. X, § 4(a)(2)                          30.00                      30.00

Televisions - 2                                                                  Fla. Const. art. X, § 4(a)(2)                         200.00                     200.00

    1      continuation sheets attached to Schedule of Property Claimed as Exempt
 Copyright (c) 1996-2009 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                          Best Case Bankruptcy
                                               Case 09-26489                      Doc 1      Filed 09/02/09          Page 17 of 41
 B6C (Official Form 6C) (12/07) -- Cont.




   In re          Darryl Albert Varnum,                                                                                  Case No.
                  Jill English Varnum
                                                                                                                 ,
                                                                                                Debtors
                                              SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                                       (Continuation Sheet)

                                                                                       Specify Law Providing                 Value of            Current Value of
                    Description of Property                                               Each Exemption                     Claimed             Property Without
                                                                                                                            Exemption          Deducting Exemption

DVD Players - 2                                                                  Fla. Const. art. X, § 4(a)(2)                        30.00                    30.00

Microwave                                                                        Fla. Const. art. X, § 4(a)(2)                        10.00                    10.00

Misc. Garden Tools                                                               Fla. Const. art. X, § 4(a)(2)                        20.00                    20.00

Trimmers                                                                         Fla. Const. art. X, § 4(a)(2)                        30.00                    30.00

Ladder                                                                           Fla. Const. art. X, § 4(a)(2)                        10.00                    10.00

Lawn Mower                                                                       Fla. Const. art. X, § 4(a)(2)                        50.00                    50.00

Push Mower                                                                       Fla. Const. art. X, § 4(a)(2)                        50.00                    50.00

Books, Pictures and Other Art Objects; Collectibles
Books                                               Fla. Const. art. X, § 4(a)(2)                                                     30.00                    30.00

Record, Tape, CD or DVD Collection                                               Fla. Const. art. X, § 4(a)(2)                        50.00                    50.00

Wearing Apparel
Debtor's Clothing                                                                Fla. Const. art. X, § 4(a)(2)                        50.00                    50.00

Co-Debtor's Clothing                                                             Fla. Const. art. X, § 4(a)(2)                        50.00                    50.00

Furs and Jewelry
Wedding Band                                                                     Fla. Const. art. X, § 4(a)(2)                       150.00                   150.00

Wedding Band                                                                     Fla. Const. art. X, § 4(a)(2)                        50.00                    50.00

Firearms and Sports, Photographic and Other Hobby Equipment
Gun                                             Fla. Const. art. X, § 4(a)(2)                                                        100.00                   100.00

Misc. Sports Equipment                                                           Fla. Const. art. X, § 4(a)(2)                        50.00                    50.00

Interests in IRA, ERISA, Keogh, or Other Pension or Profit Sharing Plans
401(k)                                              Fla. Stat. Ann. §§ 121.131,                                                 21,187.00                 21,187.00
                                                    121.055(6)(e)

Other Liquidated Debts Owing Debtor Including Tax Refund
Wage Garnishment                                 Fla. Stat. Ann. § 222.25(4)                                                        1,500.00               1,500.00

Automobiles, Trucks, Trailers, and Other Vehicles
2000 Volkswagon Jetta                                                            Fla. Stat. Ann. § 222.25(1)                        2,000.00               3,835.00
112,000 Miles                                                                    Fla. Stat. Ann. § 222.25(4)                        1,835.00

1990 Trailer                                                                     Fla. Const. art. X, § 4(a)(2)                       100.00                   100.00

Boats, Motors and Accessories
1994 Boston Whaler                                                               Fla. Stat. Ann. § 222.25(4)                        1,750.00               1,750.00




                                                                                                      Total:                    30,022.00                 30,022.00
 Sheet       1     of     1     continuation sheets attached to the Schedule of Property Claimed as Exempt
 Copyright (c) 1996-2009 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                      Best Case Bankruptcy
                                               Case 09-26489                      Doc 1          Filed 09/02/09            Page 18 of 41
 B6D (Official Form 6D) (12/07)


           }
           e
           b
           c
           k
           u
           1
           r
           {
           S
           d
           h
           C
           l
           a
           i
           m
           s
           D
           -
           t
           o
           H
           n
           g




   In re          Darryl Albert Varnum,                                                                                            Case No.
                  Jill English Varnum
                                                                                                                      ,
                                                                                                     Debtors
                                      SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
              CREDITOR'S NAME                                   O                                                              O    N   I
                                                                D   H         DATE CLAIM WAS INCURRED,                         N    L   S        CLAIM
           AND MAILING ADDRESS                                  E                                                              T    I   P       WITHOUT        UNSECURED
            INCLUDING ZIP CODE,                                 B   W             NATURE OF LIEN, AND                          I    Q   U                      PORTION, IF
                                                                T   J          DESCRIPTION AND VALUE                           N    U   T
                                                                                                                                               DEDUCTING
           AND ACCOUNT NUMBER                                   O                                                              G    I   E       VALUE OF          ANY
             (See instructions above.)
                                                                    C                 OF PROPERTY
                                                                R
                                                                                     SUBJECT TO LIEN
                                                                                                                               E    D   D     COLLATERAL
                                                                                                                               N    A
                                                                                                                               T    T
Account No. 4116XXXXXX                                                  2006 Ford F150 Truck                                        E
                                                                        78,500 Miles                                                D

FMC Omaha Service Center
PO Box 54200
Omaha, NE 68154-8000
                                                                    H

                                                                         Value $                               13,360.00                         14,025.00               665.00
Account No.




                                                                         Value $
Account No.




                                                                         Value $
Account No.




                                                                         Value $
                                                                                                                            Subtotal
 0
_____ continuation sheets attached                                                                                                               14,025.00               665.00
                                                                                                                   (Total of this page)
                                                                                                                             Total               14,025.00               665.00
                                                                                                   (Report on Summary of Schedules)

 Copyright (c) 1996-2009 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                               Best Case Bankruptcy
                                              Case 09-26489                     Doc 1   Filed 09/02/09             Page 19 of 41
B6E (Official Form 6E) (12/07)


          }
          n
          b
          s
          k
          e
          1
          c
          {
          u
          S
          r
          h
          d
          P
          l
          i
          o
          E
          t
          -
          y
          C
          a
          m
          H
          g
          U




  In re          Darryl Albert Varnum,                                                                                    Case No.
                 Jill English Varnum
                                                                                                              ,
                                                                                           Debtors
                     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
           A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
     to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
     account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
     continuation sheet for each type of priority and label each with the type of priority.
           The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
     so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
     Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
     liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
     column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
     "Disputed." (You may need to place an "X" in more than one of these three columns.)
           Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
     "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
           Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
     listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
     also on the Statistical Summary of Certain Liabilities and Related Data.
           Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
     priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
     total also on the Statistical Summary of Certain Liabilities and Related Data.

          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
          Domestic support obligations
         Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
     of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

          Extensions of credit in an involuntary case
         Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
     trustee or the order for relief. 11 U.S.C. § 507(a)(3).

          Wages, salaries, and commissions
         Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
     representatives up to $10,950* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
     occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

          Contributions to employee benefit plans
        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
     whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

          Certain farmers and fishermen
          Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

          Deposits by individuals
         Claims of individuals up to $2,425* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
     delivered or provided. 11 U.S.C. § 507(a)(7).

          Taxes and certain other debts owed to governmental units
          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

          Commitments to maintain the capital of an insured depository institution
        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
     Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

          Claims for death or personal injury while debtor was intoxicated
        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
     another substance. 11 U.S.C. § 507(a)(10).




     * Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                                0   continuation sheets attached
Copyright (c) 1996-2009 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                                Best Case Bankruptcy
                                               Case 09-26489                         Doc 1           Filed 09/02/09           Page 20 of 41
 B6F (Official Form 6F) (12/07)


           }
           n
           b
           s
           k
           e
           1
           c
           {
           u
           S
           r
           h
           d
           N
           o
           l
           p
           F
           i
           -
           C
           t
           y
           a
           m
           H
           g
           U




   In re          Darryl Albert Varnum,                                                                                           Case No.
                  Jill English Varnum
                                                                                                                          ,
                                                                                                        Debtors

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


       Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                                 C   Husband, Wife, Joint, or Community                          C   U   D
                    CREDITOR'S NAME,                                             O                                                               O   N   I
                    MAILING ADDRESS                                              D   H                                                           N   L   S
                  INCLUDING ZIP CODE,                                            E               DATE CLAIM WAS INCURRED AND                     T   I   P
                                                                                     W
                 AND ACCOUNT NUMBER
                                                                                 B             CONSIDERATION FOR CLAIM. IF CLAIM                 I   Q   U
                                                                                                                                                             AMOUNT OF CLAIM
                                                                                 T   J                                                           N   U   T
                                                                                 O               IS SUBJECT TO SETOFF, SO STATE.                 G   I   E
                   (See instructions above.)                                     R
                                                                                     C
                                                                                                                                                 E   D   D
                                                                                                                                                 N   A
Account No. xxxx3688                                                                     Medical Collections                                     T   T
                                                                                                                                                     E
                                                                                                                                                     D

Amcol Systems, Inc.
111 Lancewood Road                                                                   W
Columbia, SC 29210

                                                                                                                                                                                30.00
Account No. xxxx-xxxx-xxxx-3835                                                          Credit card purchases

Bank of America
4060 Ogletown Stanton Road                                                           H
Newark, DE 19713-3102

                                                                                                                                                                          16,639.00
Account No. xxxx-xxxx-xxxx-8382                                                          Credit card purchases

Bank of America
PO Box 15026                                                                         J
Wilmington, DE 19850-5026

                                                                                                                                                                          11,220.13
Account No. 5178-0523-9137-9217                                                          Credit card purchases

Capital One
Attn: General Correspondence                                                         H
PO Box 30285
Salt Lake City, UT 84130-0289
                                                                                                                                                                            6,863.00

                                                                                                                                               Subtotal
 2
_____ continuation sheets attached                                                                                                                                        34,752.13
                                                                                                                                     (Total of this page)




 Copyright (c) 1996-2009 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                 S/N:37648-090811   Best Case Bankruptcy
                                               Case 09-26489                         Doc 1           Filed 09/02/09           Page 21 of 41
 B6F (Official Form 6F) (12/07) - Cont.




   In re          Darryl Albert Varnum,                                                                                           Case No.
                  Jill English Varnum
                                                                                                                          ,
                                                                                                        Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                          C   U   D
                    CREDITOR'S NAME,                                             O                                                               O   N   I
                    MAILING ADDRESS                                              D   H                                                           N   L   S
                  INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W
                                                                                                 DATE CLAIM WAS INCURRED AND                     T   I   P
                                                                                 B                                                               I   Q   U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM                 N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.                 G   I   E
                   (See instructions above.)                                     R                                                               E   D   D
                                                                                                                                                 N   A
                                                                                                                                                 T   T
Account No. 5424-1801-6165-6704                                                          Credit card purchases                                       E
                                                                                                                                                     D

CitiCards CBSDNA
PO Box 6500                                                                          J
c\o Citi Corp
Sioux Falls, SD 57117-6500
                                                                                                                                                                       26,792.00
Account No. xxxxxxxxxxxxxx2200                                                           Student Loan

Sallie Mae
11100 USA Parkway                                                                    W
Fishers, IN 46038

                                                                                                                                                                         1,440.00
Account No. xxxxxxxxxxxxxx3200                                                           Student Loan

Sallie Mae
11100 USA Parkway                                                                    W
Fishers, IN 46038

                                                                                                                                                                         6,238.00
Account No. xxxxxxxxxxxxxxx2003                                                          Student Loan

Sallie Mae
11100 USA Parkway                                                                    W
Fishers, IN 46038

                                                                                                                                                                         1,757.00
Account No. 9832698191100011XXXX                                                         Student Loan

Sallie Mae LSCF
1002 Arthur Drive                                                                    H
Lynn Haven, FL 32444-1683

                                                                                                                                                                         3,012.00

           1
Sheet no. _____     2
                of _____ sheets attached to Schedule of                                                                                        Subtotal
                                                                                                                                                                       39,239.00
Creditors Holding Unsecured Nonpriority Claims                                                                                       (Total of this page)




 Copyright (c) 1996-2009 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                                 Best Case Bankruptcy
                                               Case 09-26489                         Doc 1           Filed 09/02/09            Page 22 of 41
 B6F (Official Form 6F) (12/07) - Cont.




   In re          Darryl Albert Varnum,                                                                                             Case No.
                  Jill English Varnum
                                                                                                                           ,
                                                                                                        Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                             C   U   D
                    CREDITOR'S NAME,                                             O                                                                  O   N   I
                    MAILING ADDRESS                                              D   H                                                              N   L   S
                  INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W
                                                                                                 DATE CLAIM WAS INCURRED AND                        T   I   P
                                                                                 B                                                                  I   Q   U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.                    G   I   E
                   (See instructions above.)                                     R                                                                  E   D   D
                                                                                                                                                    N   A
                                                                                                                                                    T   T
Account No. 2056 Farrington Drive                                                        2008 Association Fees                                          E
                                                                                                                                                        D

Sherwood Lakes Homeowners Assoc.
c\o L.E. Wilson & Associates, Inc.                                                   J
PO Box 1058
Ruskin, FL 33575
                                                                                                                                                                              405.00
Account No. 2056 Farrington Drive                                                        2007 Association Dues

Sherwood Lakes Homeowners Assoc.
c\o L.E. Wilson & Associates, Inc.                                                   J
PO Box 1058
Ruskin, FL 33575
                                                                                                                                                                              733.70
Account No. 6506500069674XXXX                                                            Deficiency on Mortgage

Wells Fargo Home Equity
Credit Bureau B6955-019                                                              J
PO Box 31557
Billings, MT 59107-1557
                                                                                                                                                                          72,601.86
Account No. xxxxxx4451                                                                   Deficiency on Foreclosure

Wells Fargo Home Mortgage
PO Box 10335                                                                         J
Des Moines, IA 50306

                                                                                                                                                                          25,000.00
Account No.




           2
Sheet no. _____     2
                of _____ sheets attached to Schedule of                                                                                           Subtotal
                                                                                                                                                                          98,740.56
Creditors Holding Unsecured Nonpriority Claims                                                                                          (Total of this page)
                                                                                                                                                    Total
                                                                                                                          (Report on Summary of Schedules)              172,731.69


 Copyright (c) 1996-2009 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                                    Best Case Bankruptcy
                                              Case 09-26489                     Doc 1   Filed 09/02/09        Page 23 of 41
B6G (Official Form 6G) (12/07)


           a
           }
           n
           b
           d
           k
           1
           U
           {
           S
           e
           c
           x
           h
           p
           i
           r
           u
           l
           L
           G
           -
           s
           E
           t
           o
           y
           C




  In re             Darryl Albert Varnum,                                                                            Case No.
                    Jill English Varnum
                                                                                                          ,
                                                                                         Debtors
                         SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
               Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
               of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
               complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
               state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
               disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                  Check this box if debtor has no executory contracts or unexpired leases.
                                                                                           Description of Contract or Lease and Nature of Debtor's Interest.
                   Name and Mailing Address, Including Zip Code,                                State whether lease is for nonresidential real property.
                       of Other Parties to Lease or Contract                                      State contract number of any government contract.

                     Lee Anne Hamper                                                         Residential Lease




       0
                 continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
Copyright (c) 1996-2009 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                       Best Case Bankruptcy
                                              Case 09-26489                     Doc 1   Filed 09/02/09   Page 24 of 41
B6H (Official Form 6H) (12/07)


           }
           b
           k
           1
           {
           S
           c
           h
           e
           d
           u
           l
           H
           -
           C
           o
           t
           r
           s




  In re          Darryl Albert Varnum,                                                                       Case No.
                 Jill English Varnum
                                                                                                     ,
                                                                                         Debtors
                                                                      SCHEDULE H - CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
     by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
     commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
     Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
     any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
     by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
     state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
     disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
         Check this box if debtor has no codebtors.
                  NAME AND ADDRESS OF CODEBTOR                                               NAME AND ADDRESS OF CREDITOR




       0
               continuation sheets attached to Schedule of Codebtors
Copyright (c) 1996-2009 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                           Best Case Bankruptcy
                                 Case 09-26489             Doc 1       Filed 09/02/09           Page 25 of 41
B6I (Official Form 6I) (12/07)

          Darryl Albert Varnum
 In re    Jill English Varnum                                                                           Case No.
                                                                         Debtor(s)

                           SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
Debtor's Marital Status:                                                  DEPENDENTS OF DEBTOR AND SPOUSE
                                        RELATIONSHIP(S):                                             AGE(S):
      Married                                Son                                                         2
                                             Son                                                         4
Employment:                                               DEBTOR                                                   SPOUSE
Occupation                                                                                   Homemaker
Name of Employer                    Northrop Grumman                                         N/A
How long employed                   1 Year 11 Months
Address of Employer                 W. Nursery Road
                                    Linthicum, MD
INCOME: (Estimate of average or projected monthly income at time case filed)                                   DEBTOR                     SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                            $       5,878.08         $            0.00
2. Estimate monthly overtime                                                                             $           0.00         $            0.00

3. SUBTOTAL                                                                                              $         5,878.08       $             0.00

4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                                $         1,024.00       $             0.00
     b. Insurance                                                                                        $           598.84       $             0.00
     c. Union dues                                                                                       $             0.00       $             0.00
     d. Other (Specify):       Vacation Purchase                                                         $            77.24       $             0.00
                                                                                                         $             0.00       $             0.00

5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $         1,700.08       $             0.00

6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $         4,178.00       $             0.00

7. Regular income from operation of business or profession or farm (Attach detailed statement)           $             0.00       $             0.00
8. Income from real property                                                                             $             0.00       $             0.00
9. Interest and dividends                                                                                $             0.00       $             0.00
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that of
      dependents listed above                                                                            $             0.00       $             0.00
11. Social security or government assistance
(Specify):                                                                                               $             0.00       $             0.00
                                                                                                         $             0.00       $             0.00
12. Pension or retirement income                                                                         $             0.00       $             0.00
13. Other monthly income
(Specify):                                                                                               $             0.00       $             0.00
                                                                                                         $             0.00       $             0.00


14. SUBTOTAL OF LINES 7 THROUGH 13                                                                       $             0.00       $             0.00

15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                         $         4,178.00       $             0.00

16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                     $              4,178.00
                                                             (Report also on Summary of Schedules and, if applicable, on
                                                             Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
                                 Case 09-26489       Doc 1      Filed 09/02/09         Page 26 of 41
B6J (Official Form 6J) (12/07)

          Darryl Albert Varnum
 In re    Jill English Varnum                                                                 Case No.
                                                                  Debtor(s)

         SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
     Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time case
filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly
expenses calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
1. Rent or home mortgage payment (include lot rented for mobile home)                                        $                1,500.00
 a. Are real estate taxes included?                            Yes                No X
 b. Is property insurance included?                            Yes                No X
2. Utilities:      a. Electricity and heating fuel                                                           $                  210.00
                   b. Water and sewer                                                                        $                   20.00
                   c. Telephone                                                                              $                   70.00
                   d. Other See Detailed Expense Attachment                                                  $                  186.00
3. Home maintenance (repairs and upkeep)                                                                     $                    0.00
4. Food                                                                                                      $                  800.00
5. Clothing                                                                                                  $                   20.00
6. Laundry and dry cleaning                                                                                  $                   20.00
7. Medical and dental expenses                                                                               $                  220.00
8. Transportation (not including car payments)                                                               $                  350.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                          $                   25.00
10. Charitable contributions                                                                                 $                    0.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                                $                   30.00
                   b. Life                                                                                   $                    0.00
                   c. Health                                                                                 $                    0.00
                   d. Auto                                                                                   $                  130.00
                   e. Other                                                                                  $                    0.00
12. Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify)                                                                                   $                    0.00
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
plan)
                   a. Auto                                                                                   $                  389.00
                   b. Other                                                                                  $                    0.00
                   c. Other                                                                                  $                    0.00
14. Alimony, maintenance, and support paid to others                                                         $                    0.00
15. Payments for support of additional dependents not living at your home                                    $                    0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)             $                    0.00
17. Other Pre-School Tuition                                                                                 $                  140.00
    Other Therapy for Dependent                                                                              $                   60.00

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                     $                4,170.00
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:

20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I                                                         $                4,178.00
b. Average monthly expenses from Line 18 above                                                               $                4,170.00
c. Monthly net income (a. minus b.)                                                                          $                    8.00
                                 Case 09-26489   Doc 1   Filed 09/02/09    Page 27 of 41
B6J (Official Form 6J) (12/07)
          Darryl Albert Varnum
 In re    Jill English Varnum                                                    Case No.
                                                          Debtor(s)

                   SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                             Detailed Expense Attachment
Other Utility Expenditures:
Cell Phones                                                                                 $    80.00
Directv                                                                                     $    86.00
Internet                                                                                    $    20.00
Total Other Utility Expenditures                                                            $   186.00
                                           Case 09-26489                      Doc 1          Filed 09/02/09     Page 28 of 41
B6 Declaration (Official Form 6 - Declaration). (12/07)

                                                                  United States Bankruptcy Court
                                                                                 District of Maryland
             Darryl Albert Varnum
 In re       Jill English Varnum                                                                                         Case No.
                                                                                              Debtor(s)                  Chapter    7




                                         DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                     DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                          I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of
                20       sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date September 1, 2009                                                         Signature     /s/ Darryl Albert Varnum
                                                                                              Darryl Albert Varnum
                                                                                              Debtor


 Date September 1, 2009                                                         Signature     /s/ Jill English Varnum
                                                                                              Jill English Varnum
                                                                                              Joint Debtor

     Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                      18 U.S.C. §§ 152 and 3571.




Software Copyright (c) 1996-2009 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                              Best Case Bankruptcy
                                           Case 09-26489                      Doc 1          Filed 09/02/09   Page 29 of 41

B7 (Official Form 7) (12/07)



                                                                  United States Bankruptcy Court
                                                                                 District of Maryland
             Darryl Albert Varnum
 In re       Jill English Varnum                                                                                  Case No.
                                                                                              Debtor(s)           Chapter     7


                                                          STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                                             DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or
equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11
U.S.C. § 101.

                                                               __________________________________________

               1. Income from employment or operation of business

    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
               business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
               year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
               calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
               report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                   SOURCE
                           $52,018.71                               Employment - 2009
                           $71,487.00                               Employment - 2008
                           $88,420.00                               Employment - 2007




Software Copyright (c) 1996-2009 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                     Best Case Bankruptcy
                                           Case 09-26489                      Doc 1          Filed 09/02/09      Page 30 of 41


                                                                                                                                                                    2

               2. Income other than from employment or operation of business

    None       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
               during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                   SOURCE

               3. Payments to creditors

    None       Complete a. or b., as appropriate, and c.

               a. Individual or joint debtor(s) with primarily consumer debts. List all payments on loans, installment purchases of goods or services,
               and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value
               of all property that constitutes or is affected by such transfer is less than $600. Indicate with an (*) any payments that were made to a
               creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved
               nonprofit budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS                                                                  DATES OF                                                  AMOUNT STILL
    OF CREDITOR                                                                    PAYMENTS                                AMOUNT PAID         OWING

    None       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
               immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
               transfer is less than $5,475. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
               account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
               budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or
               both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                                                               AMOUNT
                                                                                   DATES OF                                     PAID OR
                                                                                   PAYMENTS/                                  VALUE OF       AMOUNT STILL
 NAME AND ADDRESS OF CREDITOR                                                      TRANSFERS                                 TRANSFERS         OWING

    None       c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
               creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR AND                                                                                                            AMOUNT STILL
      RELATIONSHIP TO DEBTOR                                                       DATE OF PAYMENT                         AMOUNT PAID         OWING

               4. Suits and administrative proceedings, executions, garnishments and attachments

    None       a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
               this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
               whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 CAPTION OF SUIT                                                                              COURT OR AGENCY                  STATUS OR
 AND CASE NUMBER                                 NATURE OF PROCEEDING                         AND LOCATION                     DISPOSITION
 Wells Fargo Bank vs. Darryl                     Lawsuit                                      Circuit Court of Maryland        Judgment Entered
 & Jill Varnum                                                                                For Carroll County
 US Bank National                                Foreclosure                                  Circuit Court of the Tenth       Foreclosure 3/31/2009
 Association vs. Darryl & Jill                                                                Judicial
 Varnum                                                                                       Circuit in and For Polk
                                                                                              County, Florida




Software Copyright (c) 1996-2009 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                        Best Case Bankruptcy
                                           Case 09-26489                      Doc 1          Filed 09/02/09   Page 31 of 41


                                                                                                                                                              3
    None       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

 NAME AND ADDRESS OF PERSON FOR WHOSE                                                                   DESCRIPTION AND VALUE OF
       BENEFIT PROPERTY WAS SEIZED                                              DATE OF SEIZURE                 PROPERTY
 Wells Fargo Home Equity                                                        08/19/2009              Deficiency on Mortgage
 Credit Bureau B6955-019
 PO Box 31557
 Billings, MT 59107-1557

               5. Repossessions, foreclosures and returns

    None       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
               returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
               or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

                                                                          DATE OF REPOSSESSION,
 NAME AND ADDRESS OF                                                        FORECLOSURE SALE,            DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                       TRANSFER OR RETURN                     PROPERTY
 Wells Fargo Home Mortgage                                              3/31/2009                        2056 Farrington Drive, Lakeland, Florida 33809
 PO Box 10335
 Des Moines, IA 50306

               6. Assignments and receiverships

    None       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
               this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
               joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                        DATE OF
 NAME AND ADDRESS OF ASSIGNEE                                           ASSIGNMENT                       TERMS OF ASSIGNMENT OR SETTLEMENT

    None       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                                   NAME AND LOCATION
 NAME AND ADDRESS                                                       OF COURT                          DATE OF        DESCRIPTION AND VALUE OF
   OF CUSTODIAN                                                    CASE TITLE & NUMBER                    ORDER                PROPERTY

               7. Gifts

    None       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
               and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
               aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

   NAME AND ADDRESS OF                                             RELATIONSHIP TO                                         DESCRIPTION AND
 PERSON OR ORGANIZATION                                             DEBTOR, IF ANY                       DATE OF GIFT       VALUE OF GIFT




Software Copyright (c) 1996-2009 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                  Best Case Bankruptcy
                                           Case 09-26489                      Doc 1          Filed 09/02/09   Page 32 of 41


                                                                                                                                                              4

               8. Losses

    None       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
               since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                       DESCRIPTION OF CIRCUMSTANCES AND, IF
 DESCRIPTION AND VALUE                                                                 LOSS WAS COVERED IN WHOLE OR IN PART
     OF PROPERTY                                                                          BY INSURANCE, GIVE PARTICULARS         DATE OF LOSS

               9. Payments related to debt counseling or bankruptcy

    None       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
               concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
               preceding the commencement of this case.

                                                                                    DATE OF PAYMENT,                        AMOUNT OF MONEY
 NAME AND ADDRESS                                                                 NAME OF PAYOR IF OTHER                OR DESCRIPTION AND VALUE
     OF PAYEE                                                                          THAN DEBTOR                             OF PROPERTY
 Andrew C. Stone, Chartered                                                       August 2009                          $1,201.00 Attorney Fee
 237 East Main Street                                                                                                  $299.00 Filing Fee
 Westminster, MD 21157-5228
 Money Management International, Inc.                                             August 2009                          $50.00 Credit Counseling
 9009 West Loop South                                                                                                  Certificates
 7th Floor
 Houston, TX 77096-1719

               10. Other transfers

    None       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
               transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
               filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF TRANSFEREE,                                                                         DESCRIBE PROPERTY TRANSFERRED
     RELATIONSHIP TO DEBTOR                                                     DATE                            AND VALUE RECEIVED

    None       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
               trust or similar device of which the debtor is a beneficiary.

 NAME OF TRUST OR OTHER                                                                                  AMOUNT OF MONEY OR DESCRIPTION AND
 DEVICE                                                                         DATE(S) OF               VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                                TRANSFER(S)              IN PROPERTY

               11. Closed financial accounts

    None       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
               otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
               financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
               cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
               include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
               unless the spouses are separated and a joint petition is not filed.)

                                                                                   TYPE OF ACCOUNT, LAST FOUR
                                                                                   DIGITS OF ACCOUNT NUMBER,            AMOUNT AND DATE OF SALE
 NAME AND ADDRESS OF INSTITUTION                                                  AND AMOUNT OF FINAL BALANCE                  OR CLOSING




Software Copyright (c) 1996-2009 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                  Best Case Bankruptcy
                                           Case 09-26489                      Doc 1          Filed 09/02/09   Page 33 of 41


                                                                                                                                                                5

               12. Safe deposit boxes

    None       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
               immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
               depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                              NAMES AND ADDRESSES
 NAME AND ADDRESS OF BANK                                     OF THOSE WITH ACCESS                        DESCRIPTION           DATE OF TRANSFER OR
  OR OTHER DEPOSITORY                                         TO BOX OR DEPOSITORY                        OF CONTENTS            SURRENDER, IF ANY

               13. Setoffs

    None       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
               commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR                                                     DATE OF SETOFF                         AMOUNT OF SETOFF

               14. Property held for another person

    None       List all property owned by another person that the debtor holds or controls.


                                                                                  DESCRIPTION AND VALUE OF
 NAME AND ADDRESS OF OWNER                                                               PROPERTY                        LOCATION OF PROPERTY

               15. Prior address of debtor

    None       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
               occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
               address of either spouse.

 ADDRESS                                                                          NAME USED                              DATES OF OCCUPANCY
 2056 Farrington Drive                                                            Darryl Albert Varnum
 Lakeland, Florida 33809                                                          Jill English Varnum
 2307 Frizzelburg Road                                                            Darryl Albert Varnum
 Westminster, MD 21158                                                            Jill English Varnum

               16. Spouses and Former Spouses

    None       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
               Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
               commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
               the community property state.

 NAME

               17. Environmental Information.

               For the purpose of this question, the following definitions apply:

               "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
               or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
               statutes or regulations regulating the cleanup of these substances, wastes, or material.

                      "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                      owned or operated by the debtor, including, but not limited to, disposal sites.

                      "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                      pollutant, or contaminant or similar term under an Environmental Law




Software Copyright (c) 1996-2009 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                    Best Case Bankruptcy
                                           Case 09-26489                      Doc 1          Filed 09/02/09   Page 34 of 41


                                                                                                                                                               6
    None       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
               or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
               the Environmental Law:

                                                              NAME AND ADDRESS OF                         DATE OF               ENVIRONMENTAL
 SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                           NOTICE                LAW

    None       b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
               Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                              NAME AND ADDRESS OF                         DATE OF               ENVIRONMENTAL
 SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                           NOTICE                LAW

    None       c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
               the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
               docket number.

 NAME AND ADDRESS OF
 GOVERNMENTAL UNIT                                                                DOCKET NUMBER                         STATUS OR DISPOSITION

               18 . Nature, location and name of business

    None       a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
               partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
               immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
               within six years immediately preceding the commencement of this case.

               If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
               years immediately preceding the commencement of this case.

               If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
               years immediately preceding the commencement of this case.

                                     LAST FOUR DIGITS OF
                                     SOCIAL-SECURITY OR
                                     OTHER INDIVIDUAL
                                     TAXPAYER-I.D. NO.                                                                             BEGINNING AND
 NAME                                (ITIN)/ COMPLETE EIN                  ADDRESS                        NATURE OF BUSINESS       ENDING DATES

    None       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


 NAME                                                                           ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

               19. Books, records and financial statements

    None       a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
               supervised the keeping of books of account and records of the debtor.

 NAME AND ADDRESS                                                                                               DATES SERVICES RENDERED


Software Copyright (c) 1996-2009 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                   Best Case Bankruptcy
                                           Case 09-26489                      Doc 1          Filed 09/02/09   Page 35 of 41


                                                                                                                                                                7
    None       b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
               of account and records, or prepared a financial statement of the debtor.

 NAME                                                  ADDRESS                                                  DATES SERVICES RENDERED

    None       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
               of the debtor. If any of the books of account and records are not available, explain.

 NAME                                                                                               ADDRESS

    None       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
               issued by the debtor within two years immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                                                         DATE ISSUED

               20. Inventories

    None       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
               and the dollar amount and basis of each inventory.

                                                                                                                DOLLAR AMOUNT OF INVENTORY
 DATE OF INVENTORY                                     INVENTORY SUPERVISOR                                     (Specify cost, market or other basis)

    None       b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.


                                                                                             NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
 DATE OF INVENTORY                                                                           RECORDS

               21 . Current Partners, Officers, Directors and Shareholders

    None       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


 NAME AND ADDRESS                                                               NATURE OF INTEREST                        PERCENTAGE OF INTEREST

    None       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
               controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                                NATURE AND PERCENTAGE
 NAME AND ADDRESS                                                               TITLE                           OF STOCK OWNERSHIP

               22 . Former partners, officers, directors and shareholders

    None       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
               commencement of this case.

 NAME                                                              ADDRESS                                               DATE OF WITHDRAWAL

    None       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
               immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                               TITLE                           DATE OF TERMINATION




Software Copyright (c) 1996-2009 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                    Best Case Bankruptcy
                                           Case 09-26489                      Doc 1          Filed 09/02/09     Page 36 of 41


                                                                                                                                                                      8

               23 . Withdrawals from a partnership or distributions by a corporation

    None       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
               in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
               commencement of this case.

 NAME & ADDRESS                                                                                                              AMOUNT OF MONEY
 OF RECIPIENT,                                                                  DATE AND PURPOSE                             OR DESCRIPTION AND
 RELATIONSHIP TO DEBTOR                                                         OF WITHDRAWAL                                VALUE OF PROPERTY

               24. Tax Consolidation Group.

    None       If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
               group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
               of the case.

 NAME OF PARENT CORPORATION                                                                                     TAXPAYER IDENTIFICATION NUMBER (EIN)

               25. Pension Funds.

    None       If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the debtor, as an
               employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

 NAME OF PENSION FUND                                                                                           TAXPAYER IDENTIFICATION NUMBER (EIN)


                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


 Date September 1, 2009                                                         Signature     /s/ Darryl Albert Varnum
                                                                                              Darryl Albert Varnum
                                                                                              Debtor


 Date September 1, 2009                                                         Signature     /s/ Jill English Varnum
                                                                                              Jill English Varnum
                                                                                              Joint Debtor

                    Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




Software Copyright (c) 1996-2009 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                          Best Case Bankruptcy
                                          Case 09-26489                      Doc 1     Filed 09/02/09   Page 37 of 41
B 201 (12/08)

                                                         UNITED STATES BANKRUPTCY COURT
                                                              DISTRICT OF MARYLAND

                                           NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                                    OF THE BANKRUPTCY CODE
          In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of
bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General
may examine all information you supply in connection with a bankruptcy case.

         You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that
you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each other), and each spouse lists
the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of each notice mailed
from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court requesting that each spouse
receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a
joint case must complete the briefing.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

             Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total Fee $299)
          1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors
whose debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
creditors have the right to file a motion requesting that the court dismiss your case under § 707(b) of the Code. It is up to the court to
decide whether the case should be dismissed.
          2. Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to
take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
          3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.
          4. Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still
be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property
settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed
in your bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while
intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from
a willful and malicious injury, the bankruptcy court may determine that the debt is not discharged.

             Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
             $39 administrative fee: Total fee $274)
             1. Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments


Software Copyright (c) 1996-2009 Best Case Solutions - Evanston, IL - (800) 492-8037                                      Best Case Bankruptcy
                                          Case 09-26489                      Doc 1     Filed 09/02/09       Page 38 of 41
B 201 (12/08)                                                                                                                                 Page 2

over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the
Bankruptcy Code.
          2. Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them,
using your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
          3. After completing the payments under your plan, your debts are generally discharged except for domestic support
obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly
listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.


             Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.


             Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court.
                                                                              Certificate of Attorney
             I hereby certify that I delivered to the debtor this notice required by § 342(b) of the Bankruptcy Code.
 Andrew C. Stone 09759                                                                    X /s/ Andrew C. Stone                  September 1, 2009
Printed Name of Attorney                                                                    Signature of Attorney                Date
Address:
237 East Main Street
Westminster, MD 21157-5228
410-876-3317
astone@AndrewStoneLaw.com

                                                                               Certificate of Debtor
             I (We), the debtor(s), affirm that I (we) have received and read this notice.
 Darryl Albert Varnum
 Jill English Varnum                                                                      X /s/ Darryl Albert Varnum             September 1, 2009
 Printed Name(s) of Debtor(s)                                                               Signature of Debtor                  Date

 Case No. (if known)                                                                      X /s/ Jill English Varnum              September 1, 2009
                                                                                            Signature of Joint Debtor (if any)   Date




Software Copyright (c) 1996-2009 Best Case Solutions - Evanston, IL - (800) 492-8037                                                Best Case Bankruptcy
                                           Case 09-26489                      Doc 1          Filed 09/02/09   Page 39 of 41




                                                                  United States Bankruptcy Court
                                                                                 District of Maryland
             Darryl Albert Varnum
 In re       Jill English Varnum                                                                                  Case No.
                                                                                              Debtor(s)           Chapter     7




                                                 VERIFICATION OF CREDITOR MATRIX


The above-named Debtors hereby verify that the attached list of creditors is true and correct to the best of their knowledge.



 Date:      September 1, 2009                                                   /s/ Darryl Albert Varnum
                                                                                Darryl Albert Varnum
                                                                                Signature of Debtor

 Date:      September 1, 2009                                                   /s/ Jill English Varnum
                                                                                Jill English Varnum
                                                                                Signature of Debtor




Software Copyright (c) 1996-2009 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                        Best Case Bankruptcy
              Case 09-26489    Doc 1   Filed 09/02/09   Page 40 of 41


}
b
k
1
{
C
r
e
d
i
t
o
A
s
M
a
x




    Amcol Systems, Inc.
    111 Lancewood Road
    Columbia, SC 29210



    Associated Recovert Systems
    PO Box 469046
    Escondido, CA 92046-9046



    Bank of America
    4060 Ogletown Stanton Road
    Newark, DE 19713-3102



    Bank of America
    PO Box 15026
    Wilmington, DE 19850-5026



    Capital One
    Attn: General Correspondence
    PO Box 30285
    Salt Lake City, UT 84130-0289



    CitiCards CBSDNA
    PO Box 6500
    c\o Citi Corp
    Sioux Falls, SD 57117-6500



    Florida Default Law Group
    PO Box 25018
    Tampa, FL 33622-5018



    FMC Omaha Service Center
    PO Box 54200
    Omaha, NE 68154-8000



    Issa G. Ziadeh, Esquire
    Central Collections Unit
    PO Box 299
    Mercersburg, PA 17236
           Case 09-26489   Doc 1   Filed 09/02/09   Page 41 of 41



Portfolio Recovery Assoc.
Riverside Commerce Center
120 Corporate Blvd., Suite 100
Norfolk, VA 23502-4962



Sallie Mae
11100 USA Parkway
Fishers, IN 46038



Sallie Mae LSCF
1002 Arthur Drive
Lynn Haven, FL 32444-1683



Sherwood Lakes Homeowners Assoc.
c\o L.E. Wilson & Associates, Inc.
PO Box 1058
Ruskin, FL 33575



Wells Fargo Bank, NA
c\o Edward B. Pritchard, Esquire
Kass, Shuker, Solomon, Spector, Foyle &
PO Box 800
Tampa, FL 33601



Wells Fargo Home Equity
Credit Bureau B6955-019
PO Box 31557
Billings, MT 59107-1557



Wells Fargo Home Mortgage
PO Box 10335
Des Moines, IA 50306
